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  BY E-FILE AND HAND DELIVERY
   The Honorable Sherry R. Fallon                                  August 11, 2023
   United States District Court of Delaware
   844 North King Street
   Wilmington, DE 19801

                 Re:       Sight Sciences, Inc. v. Ivantis, Inc.
                           C.A. No.: 21-1317-GBW-SRF
  Dear Judge Fallon:
         I write on behalf of my client Sight Sciences, Inc. in response to Mr. Russell’s letter today
  on behalf of Defendants Alcon and Ivantis (D.I. 268).
          Sight joins Defendants’ observation that the parties are currently preparing expert reports
  and respectfully requests that Your Honor consider deciding the issue on the papers submitted in
  the District of Georgia. Dr. Brown, the part-time Chief Medical Officer of Sight Sciences, resides
  in Georgia. Defendants belatedly subpoenaed Dr. Brown to obtain the discovery collected from
  him and produced by Glaukos in Glaukos v. Ivantis. Sight Sciences was not a party and the
  production was proprietary to Dr. Brown, his former employer GMP, and Glaukos, which
  purchased his patents from GMP. Ivantis deposed Dr. Brown in the Glaukos Litigation, knew he
  had four computers and a large quantity of paper documents containing information relating to his
  work for GMP, and nevertheless deleted the discovery Glaukos collected from Dr. Brown and
  produced. Ivantis deleted the documents at least two months after Sight Sciences filed the present
  lawsuit. Despite having obtained discovery from Dr. Brown in the Glaukos Litigation and
  including him on Defendants’ earliest initial disclosures in this case, Defendants never subpoenaed
  Glaukos and waited until three weeks before the close of fact discovery to subpoena Dr. Brown.
  The GMP and Glaukos information on Dr. Brown’s four computers and approximately 100 lbs. of
  paper documents likely is terabytes or hundreds of gigabytes, and would be extremely time
  consuming and expensive to collect, review, and produce in response to Defendants’ broad
  subpoena.
         In the event that Your Honor prefers letter briefing, Sight respectfully requests 6 pages to
  address the details important to deciding Defendants’ motion to compel.

                                                           Respectfully,
                                                           /s/ Melanie K. Sharp
                                                           Melanie K. Sharp (No. 2501)
  MKS:mg
  cc:  All Counsel of Record (via CM/ECF and e-mail)
       Clerk of the Court (via CM/ECF and Hand Delivery)
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